                                                                             Motion GRANTED.
                   IN THE UNITED STATES DISTRICT COURT
                                                                             Hearing reset for
                       MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE                                    7/30/13 at 2:30 p.m.


    UNITED STATES OF AMERICA                     )
                                                 )
    vs.                                          )      CASE No. 3:12-00198
                                                 )      JUDGE TRAUGER
    GREGORY LEE GREGORY                          )
    Defendant                                    )


                       MOTION TO RESET PLEA HEARING

           Comes now the defendant, Gregory Lee Gregory, by and through counsel

    of record, David R. Heroux, and moves this Honorable Court to reset the Plea

    Hearing set for July 26, 2013. The defendant would request the Plea Hearing be

    reset for the afternoon of Monday July 29, 2013, or anytime convenient to the

    Court on Tuesday, July 30, 2013. The defendant has been authorized to represent

    to the Court that the Government has no objection to this motion. In support of

    this motion the defendant has filed an Affidavit of Counsel.


                                                 Respectfully submitted,

                                                 Haymaker & Heroux, P.C.


                                                 s/ David R. Heroux
                                                 David R. Heroux,      BPR 20798
                                                 Attorney for the Defendant
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